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UNITED STATES DISTRICT COURT                      SOUTHERN DISTRICT OF TEXAS

                                 HOUSTON DIVISION

In re: Galleria 2425 Owner LLC
    Debtor

                                                    Case No. 4:24−cv−02590
                                                 SDTX Bankruptcy 23−BK−34815

2425 WL, LLC
   Appellant



                             NOTICE OF SETTING
                             PLEASE TAKE NOTICE

                              HEARING: Motion Hearing
                               RE: Motion to Dismiss − #3
                                  DATE:    11/21/2024
                                   TIME:   03:30 PM
                                 HAS BEEN SET BEFORE
                              JUDGE KEITH P. ELLISON

          ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
            ON THE COURT'S DIAL-IN NUMBER AT +1 669-254-5252.
                          Enter Meeting ID: 160 7362 7986#
              No participant ID − press #, Followed by Passcode: 3716#.
IF THE PARTIES WOULD LIKE TO JOINTLY REQUEST AN IN-PERSON HEARING,
               PLEASE NOTIFY ARTURO RIVERA BY EMAIL.




Nathan Ochsner, Clerk                                          Date: November 19, 2024
By Deputy Clerk, A. Rivera
